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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    NETLIST, INC.,                                §
              Plaintiff,                          §
                                                  §
    v.                                            §       Case No. 2:22-cv-00203-JRG-RSP
                                                  §
    MICRON TECHNOLOGY, INC. et al.,               §
            Defendants.                           §

                                               ORDER

          Netlist, Inc. (“Netlist”) previously filed a Motion for Summary Judgment Regarding IPR

   Estoppel (Dkt. No. 275). Magistrate Judge Payne entered a Report and Recommendation (Dkt. No.

   426), recommending denial of Netlist’s Motion for Summary Judgment Regarding IPR Estoppel.

   Netlist has now filed Objections (Dkt. No. 445).

          After conducting a de novo review of the briefing on the Motion for Summary Judgment,
       .
   the Report and Recommendation, and the briefing on Netlist’s Objections, the Court agrees with

   the reasoning provided within the Report and Recommendation and concludes that the Objections

   fail to show that the Report and Recommendation was erroneous. Consequently, the Court

   OVERRULES Netlist’s Objections and ADOPTS the Report and Recommendation and

   ORDERS that the Motion for Summary Judgment Regarding IPR Estoppel (Dkt. No. 275) is

   DENIED.


          So ORDERED and SIGNED this 31st day of January, 2024.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
